Case 2:19-cv-03854-JS-SIL Document 21 Filed 10/18/19 Page 1 of 2 PageID #: 125




 1 Berwin Cohen (FBN:BC0579)
   berwin@wolfferscohen.com
 2 Lorenz Wolffers (FBN:LW6950)
   lorenz@wolfferscohen.com
 3
   Wolffers Cohen & Edderai LLP
             th
 4 325 W. 38 Street, Suite 1502
   New York, NY 10952
 5 P: 646-807-8543 F: 646-619-4358

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 7                             UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF NEW YORK
 9
     BETTER MORNINGS, LLC and ISLAND                        Case No.: 2:19-cv-03854
10
     BREEZE, LLC
                                                            REQUEST TO ADJOURN
11                                                          PRE-MOTION CONFERENCE
                                    Plaintiffs,
12
                                 vs.
13
     JOSEPH NILSEN and DIGITAL
14   CHECKMATE, INC.

15                                 Defendants.

16

17      Plaintiffs Better Mornings, LLC and Island Breeze, LLC, by their undersigned counsel,
18      respectfully request an adjournment of the pre-motion conference currently scheduled for
19      3:00 PM on Friday, November 22, 2019. Plaintiffs’ counsel request this adjournment
20      because they observe the Jewish sabbath, and they will be unable to both attend the
21
        conference and make the necessary preparations for the sabbath. There have been no prior
22      requests for an adjournment of this conference or any other hearing. Defendants’ counsel
23      consents to the proposed adjournment. The parties have mutual availability on November
24      25 and November 26, 2019, and will seek to accommodate any rescheduling of the hearing
25      to a later date.
26
27                                      [Signature Page Follows]
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                                  Request to Adjourn Pre-Motion Conference
Case 2:19-cv-03854-JS-SIL Document 21 Filed 10/18/19 Page 2 of 2 PageID #: 126




 1 DATED: October 18, 2019                     /s/ Berwin Cohen
                                               Berwin Cohen
 2                                             Wolffers Cohen & Edderai, LLP
                                               325 W. 38th Street, Suite 1502
 3
                                               New York, NY
 4                                             berwin@wolfferscohen.com

 5
                                               /s/ Samuel L. Butt
 6                                              Samuel L. Butt
                                                Schlam Stone & Dolan LLP
 7                                              26 Broadway
 8                                              New York, NY 10004
                                                sbutt@schlamstone.com
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                             Request to Adjourn Pre-Motion Conference
